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 5                          UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF WASHINGTON
 6                                   AT SEATTLE
 7
      UNITED STATES OF AMERICA,
 8                          Plaintiff,                  Case No. CR13-123RSL

 9           v.                                         ORDER GRANTING MOTION
      SON PHAM, et al.,                                 TO CONTINUE TRIAL DATE
10
                            Defendants.
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            This matter comes before the Court on defendant Son Pham’s unopposed
13   “Amended Motion to Continue” (Dkt. # 100). Having considered the facts set forth in
14   the motion, the defendant’s knowing and voluntary waiver (Dkt. # 99), and the
15   remainder of the record, the Court finds as follows:
16          1.     A failure to grant the continuance would deny defense counsel the
17   reasonable time necessary for effective preparation, taking into account the exercise of

18   due diligence, within the meaning of 18 U.S.C. § 3161(h)(7)(B)(iv).

19          2.     The ends of justice will be served by ordering a continuance in this case; a

20   continuance is necessary to ensure adequate time for defense negotiations and
     investigation, effective trial preparation, and an opportunity for the defendant to benefit
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     from these efforts; and these factors outweigh the best interests of the public and the
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     defendant in a more speedy trial, within the meaning of § 3161(h)(7)(A).
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            IT IS THEREFORE ORDERED that the trial date shall be continued from
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     October 28, 2013, to January 27, 2014. The period of delay from October 28, 2013, to
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26
     ORDER CONTINUING TRIAL DATE - 1
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 1   January 27, 2014, is excluded for speedy trial purposes pursuant to § 3161(h)(1)(D),

 2   (h)(7)(A), and (h)(7)(B).

 3          Pretrial motions are to be filed no later than December 20, 2013.

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 5          DATED this 21st day of October, 2013.

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                                               A
                                               Robert S. Lasnik
                                               United States District Judge
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     ORDER CONTINUING TRIAL DATE - 2
